      Case 2:23-cv-00595-EEF-MBN Document 75 Filed 11/01/23 Page 1 of 1




                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

                                                       CIVIL ACTION
THREE FIFTY MARKETS LTD,
                                                       NO. 2:23-cv-00595
                                  Plaintiff,
                                                       SECTION L (5)
VERSUS
                                                       JUDGE ELDON J. FALLON
M/V ARGOS M, her engines, tackle
equipment, appurtenances, etc. in rem,                 MAGISTRATE JUDGE MICHAEL
                                                       NORTH
                                 Defendant.



                                               ORDER


       Considering Three Fifty Markets Ltd.'s Motion for Summary Judgment, R. Doc. 50,

       IT IS HEREBY ORDERED that Defendants' motion be DENIED for the reasons stated

on the record during the November 1, 2023 oral argument.




       New Orleans, Louisiana, this 1st day of November, 2023.




                                                           United States District Judge
